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 1 Your name: Theya Kanagaratnam
 2 Address: 2316 Lakeshore Avenue, #16
 3   Oakland, CA 94606

 4 Phone Number: 313-487-6206
 5 E-mail Address: theyak101@yahoo.com
 6 Pro se
 7
 8                                 UNITED STATES DISTRICT COURT
 9                                NORTHERN DISTRICT OF CALIFORNIA
10                   Division [check one]: 
                                           ✔ San Francisco  Oakland  San Jose  Eureka
11
                                                    )
12   Theya Kanagaratnam                             )   Case Number: 3:23-cv-02637-JD
                                                    )
13                                                  )   ADMINISTRATIVE MOTION AND
                                                    )   [PROPOSED] ORDER TO RESCHEDULE
14                   Plaintiff,                     )   HEARING ON [motion to be heard]
                                                    )
15          vs.                                     )
                                                    )   DEFENDANT'S MOTION TO DISMISS
16                                                  )
17                                                  )
     CENLAR FSB                                     )
18                                                  )
                                                    )
19                                                  )
                                                    )
                                                    )
20
                                                    )   Judge: Hon. James Donato
21                   Defendant.                     )

22
            1.                                              Motion to Dismisss
                     The hearing on the [title of motion] ____________________________________
23
24 _____________________________________________________________________________
                                       07/27/2023
25 is currently scheduled for [date] ___________________________________________________
26          2. I respectfully request that the Court move the hearing to the following date, or

27 another at the Court’s convenience, [date, same day of the week as the currently scheduled
               08/31/2023
28 hearing] ______________________________________________________________________


     MOTION TO RESCHEDULE HEARING ON DEFENDANT'S MOTION TO DISMISS
     CASE NO. 3:23-cv-02637-JD                 1 OF 3 [JDC TEMPLATE Rev.2017]
                                        ; PAGE ___
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 1          3. I have [check box that applies]:

 2                  
                    ✔ not already asked the Court to change this hearing date.

 3                   already asked the Court to change this hearing date.
 4          4. This change is necessary because [explain; inconvenience is NOT a valid reason]:
   1. Plaintiff has Bankruptcy 341 Meeting on the same day as this hearing, 07/27/2023 at 11am;
 5 ______________________________________________________________________________
    therefore, it will be extremely difficult for Plaintiff to attend both this hearing scheduled for
 6 ______________________________________________________________________________
   10 am and the 341 meeting scheduled at 11 am.
 7 ______________________________________________________________________________
   2. Plaintiff has been given until 07/27/2023 to file the response to this Motion to Dismiss which
 8 ______________________________________________________________________________
   Plaintiff has been diligently working on; Given that this hearing has been scheduled for the same
 9 ______________________________________________________________________________
   day as Plaintiff's response is due, it will make it difficult for all parties to prepare for the next
10 ______________________________________________________________________________
   step in this hearing.
11 ______________________________________________________________________________
12         5. I believe changing this deadline [check one]:

13                  
                    ✔ will not affect any other deadlines.

14                   may affect these other deadlines and dates [list anything else that may need to
15                      be rescheduled]:

16
17
18
19          6. The opposing side [check box that applies and explain]:
20                  
                    ✔ has agreed to this change.
21                   has not agreed. I tried to obtain the opposing party’s agreement to this change,
22 but was unsuccessful. [State who you tried to reach, when, and the person’s response]:
23
24
25
26
27
28


                                                     DEFENDANT'S MOTION TO DISMISS
     MOTION TO RESCHEDULE HEARING ON
     CASE NO. 3:23-cv-02637-JD                                   2 OF 3 [JDC TEMPLATE Rev.2017]
                                                          ; PAGE ___
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 1           I declare under penalty of perjury that the above statements are true and correct.

 2                                                         Respectfully submitted,
         07/19/2023
 3 Date:                                   Signature:

 4                                         Printed name: Theya Kanagaratnam

 5                                                         Pro Se

 6
 7
 8
 9
10
11
     [Do not write below this line]
12
13
             Good cause appearing, the motion is GRANTED. The hearing is rescheduled to [date]
14
     __________________________________________________ at [time] ___________________.
15
     IT IS SO ORDERED.
16
     Date:                                 [Judge’s signature]
17
                                           [Judge’s name]
18                                                             United States District/Magistrate Judge

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     MOTION TO RESCHEDULE HEARING ON DEFENDANT'S MOTION TO DISMISS
     CASE NO. 3:23-cv-02637-JD                 3 OF 3 [JDC TEMPLATE Rev.2017]
                                        ; PAGE ___
